           Case 2:15-cr-20007-LJM-DRG ECF No. 55, PageID.215 Filed 01/14/15 Page 1 of 1
(EDMI 10/10) Consent Order of Detention Pending Trial



                               UNITED STATES DISTRICT COURT
                                                                    for the
                                                          Eastern District of Michigan

                   United States of America                         )
                              v.                                    )       Case No. 15-cr-20007
                                                                    )
                        Bijuan Woodley
                                                                    )
                                                                    )


                 CONSENT ORDER OF DETENTION PENDING TRIAL/HEARING

            Pursuant to the Bail Reform Act, 18 U.S.C. §3142 et. seq., the United States has moved for detention of
the defendant and defendant is entitled to a timely hearing pursuant to 18 U.S.C. §3142(f). However, Defendant,
in open court and with the advice of counsel, agrees to remain in custody and consents to detention, reserving his
right to a full detention hearing before the magistrate judge. Therefore, no hearing will be held, no adverse findings
are made against defendant, and detention is ordered based upon the defendant’s consent. Upon request of defense
counsel, a detention hearing will be set before the duty magistrate judge.

                                                        Directions Regarding Detention

           The defendant is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences
or being held in custody pending appeal. The defendant shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver the defendant to the United States Marshal
for the purpose of an appearance in connection with a court proceeding.




Date: January 14, 2015                                               s/Elizabeth A. Stafford
                                                                    Judicial Officer’s Signature


                                                                    Elizabeth A. Stafford, United States Magistrate Judge
                                                                    Printed name and title
